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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                             8:16-CR-331

vs.
                                                   TENTATIVE FINDINGS
BERNARDO WILLIAMS-
JAUREGUI,

                    Defendant.

      The Court has received the presentence investigation report and
addendum in this case. There are no motions for departure or variance. The
defendant has objected to the presentence report. Filing 247.


      IT IS ORDERED:


1.    The Court will consult and follow the Federal Sentencing
      Guidelines to the extent permitted and required by United States
      v. Booker, 543 U.S. 220 (2005) and subsequent cases. In this
      regard, the Court gives notice that, unless otherwise ordered, it
      will:

      (a)     give the advisory Guidelines respectful consideration
              within the context of each individual case and will filter the
              Guidelines' advice through the 18 U.S.C. § 3553(a) factors,
              but will not afford the Guidelines any particular or
              "substantial" weight;
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     (b)   resolve all factual disputes relevant to sentencing by the
           greater weight of the evidence and without the aid of a
           jury;

     (c)   impose upon the United States the burden of proof on all
           Guidelines enhancements;

     (d)   impose upon the defendant the burden of proof on all
           Guidelines mitigators;

     (e)   depart from the advisory Guidelines, if appropriate, using
           pre-Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure
           theory is not warranted, deviate or vary from the
           Guidelines when there is a principled reason justifying a
           sentence different than that called for by application of the
           advisory     Guidelines,   again     without     affording    the
           Guidelines any particular or "substantial" weight.

2.   There are no motions that require resolution at sentencing. The
     defendant has objected to the presentence report's determination
     of the drug quantity attributable to the defendant, arguing that
     he was unaware of a large shipment of drugs attributed to the
     conspiracy. Filing 247 at 1.

     For purposes of calculating drug quantity in a drug conspiracy
     case, the Court may consider amounts from drug transactions in
     which the defendant was not directly involved if those dealings
     were part of the same course of conduct or scheme—specifically,



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     the Court may consider all transactions known or reasonably
     foreseeable to the defendant that were made in furtherance of the
     conspiracy. United States v. Colton, 742 F.3d 345, 349 (8th Cir.
     2014). And the government bears the burden of proving the facts
     that support drug quantity by a preponderance of the evidence.
     United States v. Mannings, 850 F.3d 404, 408 (8th Cir. 2017).
     Accordingly, the Court will resolve this objection on the evidence
     presented at sentencing.

3.   Except to the extent, if any, that the Court has sustained an
     objection, granted a motion, or reserved an issue for later
     resolution in the preceding paragraph, the parties are notified
     that the Court's tentative findings are that the presentence
     report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that
     party shall, as soon as possible (but in any event no later than
     three (3) business days before sentencing) file with the Court and
     serve upon opposing counsel an objection challenging these
     tentative findings, supported by a brief as to the law and such
     evidentiary materials as are required, giving due regard to the
     local rules of practice governing the submission of evidentiary
     materials. If an evidentiary hearing is requested, such filings
     should include a statement describing why a hearing is necessary
     and how long such a hearing would take.

5.   Absent timely submission of the information required by the
     preceding paragraph, the Court's tentative findings may become




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     final and the presentence report may be relied upon by the Court
     without more.

6.   Unless otherwise ordered, any objection challenging these
     tentative findings shall be resolved at sentencing.

     Dated this 30th day of May, 2018.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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